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                                                        6
                                                        7
                                                        8                                            UNITED STATES BANKRUPTCY COURT

                                                        9                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                                       10
                                                       11   In re                                                            Case No. 19-40193 RLE
1970 Broadway, Suite 600 Oakland, California 94612




                                                       12   Pacific Steel Casting Company LLC,                               Chapter 7

                                                       13                                                                    LIMITED OPPOSITION OF
                                                                                                                             CHAPTER 7 TRUSTEE SARAH L.
                                                       14                                                                    LITTLE TO MOTION OF
                                                                                                                             KRISHNAN VENKATESAN,
                                                       15                                                                    JEFFREY STONE, JERRY
                                                                                                                             JOHNSON, BRIAN HOLT, KEVIN
                                                       16                                                                    DAUGHERTY, AND STEVE
                                                                                                                             WESSELS FOR RELIEF FROM
                                                       17                                                                    THE AUTOMATIC STAY, TO THE
                                                                                                                             EXTENT APPLICABLE, TO
                                                       18                                                                    AUTHORIZE ADVANCEMENT
                                                                                                                             AND PAYMENT OF DEFENSE
                                                       19                                                        Debtor.     COSTS UNDER INSURANCE
                                                                                                                             POLICY
                                                       20
                                                                                                                               Date: July 22, 2020
                                                       21                                                                      Time: 2:00 p.m.
                                                                                                                               (Via Tele/Video Conference)
                                                       22                                                                      Ctrm: 201
                                                       23                                                                             U.S. Bankruptcy Court
                                                                                                                                      1300 Clay Street
                                                       24                                                                             Oakland, California

                                                       25
                                                       26   TO:       THE HONORABLE ROGER L. EFREMSKY, UNITED STATES BANKRUPTCY
                                                                      JUDGE, OFFICE OF THE UNITED STATES TRUSTEE, AND TO ALL
                                                       27             INTERESTED PARTIES:
                                                       28

                                                            Limited Opposition to Relief from Stay                 -1-
                                                     Case: 19-40193          Doc# 50           Filed: 07/09/20   Entered: 07/09/20 10:43:04   Page 1 of 10
                                                        1             Sarah L. Little, Chapter 7 trustee (the “Trustee”) for the bankruptcy estate (“Estate” of

                                                        2   Pacific Steel Casting Company LLC (the “Debtor”), hereby submits this Limited Opposition

                                                        3   (“Limited Opposition”) to the Motion of Krishnan Venkatesan, Jeffrey Stone, Jerry Johnson, Brian

                                                        4   Hold, Kevin Daugherty, and Steve Wessels (collectively, “Certain Defendants”) for Relief from

                                                        5   the Automatic Stay, to the Extent Applicable, to Authorize Advancement and Payment of Defense

                                                        6   Costs under Insurance Policy [Doc. #48] (the “Motion”).

                                                        7                                                  I.     INTRODUCTION

                                                        8             By the Motion, Certain Defendants seek relief from stay, essentially in the form of a

                                                        9   comfort order, confirming that the insurer, Continental Casualty Company (“Continental”) may

                                                       10   pay defense costs under the Continental Epack Extra Insurance Policy No. 596719036 (the

                                                       11   “Policy”) without violating the automatic stay. Motion, at p. 1. There are clear substantive
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                                                       12   defects in the instant Motion, which is only heightened by the absence of transparency: First, the

                                                       13   Policy does not provide for the payment of defense costs to the counsel of the insureds’ choosing

                                                       14   but, instead, eliminated the payment of defense costs in deference to a duty to defend whereby the

                                                       15   carrier, not the insureds, select coverage counsel; 1 Second, the Policy limits the duty to defend to

                                                       16   those fees “reasonable and necessary to the defense of the Claim.” See Policy, Declaration of

                                                       17   Jeffrey Stone [Doc. #48-2], Exhibit 1, at p. 25. Here, it is indisputable that there are both covered

                                                       18   (breach of fiduciary duty claims) and uncovered claims (fraudulent transfer and preference

                                                       19   claims), just as there are covered (the mangers but solely to the extent they are sued in their

                                                       20   capacity as managers of Pacific Steel for breach of fiduciary duty) and uncovered defendants

                                                       21   (Speyside Fund, LLC, The Alcast Company, Rataxasco LLC, Speyside Equity, LLC, Kevin

                                                       22   Daugherty, as Trustee of the TD 2011 Trust and PD 2011 Trust, and Robert C. Sylvester,

                                                       23   collectively, the “Uncovered Defendants”). Certain Defendants seek the payment of their fees but

                                                       24   do not disclose, let alone explain, how counsel’s time will be apportioned between the reasonable

                                                       25   fees incurred on behalf of the Covered Defendants for covered claims and those fees incurred for

                                                       26   uncovered claims and Uncovered Defendants. This segregation is critical because save for UHY,

                                                       27   1
                                                              By endorsement, the insurer deleted Paragraph A. Defense of Claims in its entirety, including that portion that
                                                            allowed the insureds to select counsel and, in turn, required the insurer to pay defense costs. Endorsement No. 36
                                                       28   provides only a right and duty to defend by the insurer. See Declaration of Jeffrey Stone, Exhibit 1, at p. 117.


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                                                        1   Certain Defendants’ counsel represents all other defendants (including the Uncovered Defendants)

                                                        2   against all claims, including uncovered claims; Third, to the extent that counsel is appointed

                                                        3   pursuant to Section 2860 of the California Code of Civil Procedure, it is only entitled to charge

                                                        4   those fees paid by the insurer in this jurisdiction for these types of claims. Yet, there is no

                                                        5   disclosure as to the hourly rates to be charged; and Fourth, the bottom line is that the insurance

                                                        6   policy is one of the assets the Trustee will look towards to make the Estate whole and, as the

                                                        7   representative of the named insured under the policy, the Trustee has the absolute right to

                                                        8   information regarding the reduction of limits and the right to challenge those reductions based

                                                        9   upon reasonableness.

                                                       10             What makes the Motion most troubling is that, on the one hand, Certain Defendants ask the

                                                       11   Court for a comfort order to pay their counsel but, on the other hand, these same Certain
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                                                       12   Defendants and their counsel made no effort to meet and confer and reach a stipulated result (nor

                                                       13   did they even disclose this issue in the initial meeting of counsel), and no doubt Certain

                                                       14   Defendants’ counsel will submit bills for filing this Motion, which may have been averted through

                                                       15   the meet and confer process.

                                                       16             In essence, the order sought by Certain Defendants as proffered—without so much as

                                                       17   acknowledging the existence of uncovered claims and Uncovered Defendants, the fees to be

                                                       18   charged and the protocol to be employed—provides a windfall to the Certain Defendants for

                                                       19   uncovered claims and to all Uncovered Defendants who are represented by the same counsel,

                                                       20   while providing Certain Defendants a blank check. This is all to the detriment of the Trustee and

                                                       21   the Estate, as Certain Defendants critically admit that this is a wasting policy such that every

                                                       22   dollar paid in defense is one less dollar available to satisfy any judgment or pay any settlement.

                                                       23   From the Trustee’s standpoint, it is essential that there be checks on the payment of defense, as

                                                       24   currently the damages are in the tens of millions and the insurance, standing alone, is insufficient

                                                       25   to make the Estate whole.

                                                       26             To be clear, the Trustee does not seek to preclude the payment of reasonable defense costs

                                                       27   by Continental, as it would typically do in honoring its duty to defend, or to in any way impair the

                                                       28   ability of Certain Defendants to defend against covered claims asserted against them by the


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                                                        1   Trustee in the adversary proceeding styled Little v. Speyside Fund, LLC, et al., No. 19-04057 (the

                                                        2   “Adversary Proceeding”). Rather, by way of this Limited Opposition, the Trustee seeks only to

                                                        3   ensure that Continental and Certain Defendants do not erode the policy limits improperly and

                                                        4   adhere to Section 2860 to ensure that the Policy is not being inappropriately and prematurely

                                                        5   depleted by the payment of fees, either in unreasonable amounts, exorbitant hourly rates, or on

                                                        6   uncovered claims or defendants.

                                                        7             Accordingly, the Trustee believes it appropriate that the Court grant the requested comfort

                                                        8   order with the following additional disclosure and provisions. Specifically, that:

                                                        9             1.         The rates charged be those paid by the insurer in this jurisdiction for these types of

                                                       10   claims. Cal. Code Civ. Proc. § 2860. Given Continental’s unexplained delegation of the right to

                                                       11   assign counsel to Certain Defendants, it is imperative to know—prior to granting the Motion—
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                                                       12   whether such counsel is charging exorbitant fees for work typically performed by Continental

                                                       13   counsel for substantially less;

                                                       14             2.         Certain Defendants’ counsel be required to segregate between fees incurred in

                                                       15   defending Certain Defendants for covered claims in their capacity as managers of the Debtor, and

                                                       16   those fees incurred in defending the Certain Defendants for uncovered claims and the Uncovered

                                                       17   Defendants.

                                                       18             3.      Continental provides the Trustee, on a quarterly basis, a report stating (i) the total

                                                       19   amount disbursed under the Policy; (ii) the amount disbursed during the quarter; (iii) the amount

                                                       20   of fees and costs submitted during that quarter for which Continental has not yet made

                                                       21   disbursement; and (iv) the total amount of coverage remaining under the Policy. Such report

                                                       22   should state the current approved hourly rates charged by each engaged defense counsel

                                                       23   professional and advise of any change of rate requested or approved by Continental during the

                                                       24   subject quarter. This is critical given that Certain Defendant have not even disclosed the rates they

                                                       25   are currently paying for counsel (while the Trustee’s counsel’s compensation was the subject of

                                                       26   Court approval).

                                                       27             4.         Certain Defendants’ counsel shall follow Continental’s billing guidelines and

                                                       28   restrictions, which Continental would surely impose on panel counsel or counsel chosen by


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                                                        1   Continental; and

                                                        2             5.         The granting of the comfort order should not in any preclude or constitute a waiver

                                                        3   of the right of the Trustee to challenge the propriety of the amount of the fees and costs incurred

                                                        4   by defense counsel and billed to Continental and the hourly rates charged by and being paid to

                                                        5   defense counsel, whether based upon an alleged violation of California Civil Code Section 2860,

                                                        6   principals of equity or other applicable law, which right should be deemed preserved and tolled

                                                        7   until such time as the Adversary Proceeding concludes. If the Trustee is successful in the

                                                        8   prosecution of her claims against defendants with the right to recover the insurance proceeds, the

                                                        9   Trustee should be entitled to audit insurance payments at that time and seek to recoup

                                                       10   unreasonable payments (i.e., excessive payments or payments made for work that included non-

                                                       11   covered claims and/or non-covered defendants).
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                                                       12             6.         The Trustee be provided with copies of all notice of claims or circumstances

                                                       13   submitted to Continental by the insureds and copies of any reservations of rights letters or other

                                                       14   responses from Continental to said notices.

                                                       15             The Policy is a valuable asset of the bankruptcy Estate, the value of which is being eroded

                                                       16   by the payment of defense costs at hourly rates the Trustee believes may be excessive for the

                                                       17   Oakland market and, further, depleted for uncovered claims or uncovered defendants. The

                                                       18   granting of relief on the terms outlined above will confirm the ability of Continental to pay

                                                       19   defense costs (albeit contrary to its duty to defend, not pay defense costs, obligation), permit

                                                       20   Certain Defendants to continue mounting a defense to the covered claims asserted against them in

                                                       21   the Adversary Proceeding, preserve the rights of the Estate in the policy, and permit the Trustee to

                                                       22   fulfill her fiduciary duty.

                                                       23                                            II.   ARGUMENT AND AUTHORITY

                                                       24             A.         The Policy Is An Asset of the Estate

                                                       25             By the Motion, Certain Defendants take the position that the Policy and/or its proceeds are

                                                       26   not an asset of the Estate, and as such there is no stay in effect.

                                                       27             The Ninth Circuit has held that prepaid D&O insurance policies, which insure a debtor

                                                       28   against indemnity claims made by its officers and directors, benefit the debtor and constitute


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                                                        1   property of the Estate, so that cancellation of the policies by insurers two months after debtor filed

                                                        2   a Chapter 11 voluntary petition was automatically stayed. In re Minoco Grp. of Companies, Ltd.,

                                                        3   799 F.2d 517 (9th Cir. 1986).

                                                        4             The Ninth Circuit BAP looked at the issue of whether the proceeds of a D&O policy

                                                        5   belonging to the debtor were an asset of the estate in In re Mila, 423 B.R. 537 (9th Cir. BAP

                                                        6   2010). The facts of that case are similar to the instant case. There, the debtor held a D&O policy

                                                        7   pursuant to which payment of defense costs eroded the policy limits. The trustee filed an adversary

                                                        8   proceeding against an officer of the debtor, who sought payment of defense costs under the policy.

                                                        9   The insurer agreed to advance defense costs but only if the officer obtained a comfort order stating

                                                       10   that the insurer was not violating the automatic stay by making those payments.

                                                       11             The officer filed a motion for relief from the automatic stay. The bankruptcy court did not
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                                                       12   decide whether the proceeds were property of the estate but ruled that the officer had shown

                                                       13   requisite cause to be granted relief from stay. On appeal, the BAP likewise refused to determine

                                                       14   whether the payment of defense costs violated the automatic stay, and instead determined that the

                                                       15   bankruptcy court had appropriately “weighed the parties’ respective harms and determined that

                                                       16   [the defendant] had shown requisite cause for relief under section 362(d)(1),” entitling him to

                                                       17   receive payment of defense costs from the insurer. 423 B.R. at 545.

                                                       18             B.         A Comfort Order is Appropriate on the Terms Proposed by the Trustee

                                                       19             Although Certain Defendants cite to authorities from other jurisdictions holding that the

                                                       20   proceeds of a D&O policy are not property of a chapter 7 estate, the questions of whether policy

                                                       21   proceeds are indeed an estate asset, and/or whether the payment of defense costs to a director or

                                                       22   officer from a D&O policy held by the estate violates the automatic stay, remain unsettled law in

                                                       23   the Ninth Circuit. 2

                                                       24             However, the Trustee believes that In re Mila’s guidance that the Court should “weigh the

                                                       25   parties’ respective harms” and determine whether the directors/officers have shown cause for

                                                       26   relief” is instructive. In that regard, it should be noted that the Trustee and her counsel must file

                                                       27   2
                                                              In re Mila, at 543, citing Metro. Mortg. & Sec. Co., Inc. v. Cauvel (In re Metro. Mortg. & Sec. Co., Inc.), 325 B.R.
                                                            851, 855 (Bankr. E.D. Wash. 2005); Imperial Corp. of Am. v. Milberg (In re Imperial Corp. of Am.), 144 B.R. 115,
                                                       28
                                                            118/19 (Bankr. S.D. Cal. 1992); In re Daisy Sys. Sec. Litig., 132 B.R. 752, 755 (N.D. Cal. 1991).

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                                                        1   detailed fee applications for their services in the Adversary Proceeding which provide far more

                                                        2   information than the Trustee seeks concerning Certain Defendants’ counsel’s hourly rates and

                                                        3   fees.

                                                        4             The information sought here from Continental, and which could have been agreed to

                                                        5   informally had Continental or Certain Defendants’ counsel reached out to the Trustee before filing

                                                        6   this motion, is exactly the sort of limited information necessary to assist the Court in conducting

                                                        7   its own analysis of the parties’ respective harms.             The Trustee seeks summary information

                                                        8   including the hourly rates, hours billed and amount billed by Defense Counsel. To be clear, the

                                                        9   Trustee is entitled to this information as the representative of the Named Insured under the Policy.

                                                       10   The Trustee has not sought privileged information, nor has she sought in any way to influence or

                                                       11   impair the ability of the Covered Defendants to defend against the covered claims asserted in the
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                                                       12   Adversary Proceeding, as against the managers for those covered claims. However, as a fiduciary,

                                                       13   the Trustee is required to investigate the assets of the Estate and seek to marshal such assets as

                                                       14   efficiently and effectively as possible.

                                                       15             In requesting the identified information from Continental, the Trustee has been sensitive to

                                                       16   the expected concerns of Certain Defendants’ counsel. The Trustee does not seek copies of

                                                       17   detailed invoices or other information that might reveal case strategies or other privileged

                                                       18   information. The information sought could in no way adversely impact Certain Defendants’ or

                                                       19   their defense of the Adversary Proceeding or reveal any privileged information.

                                                       20             There is an inherent unfairness in Certain Defendants’ Motion, which is presented without

                                                       21   the above disclosures as to the hourly rates, the allocation between covered and uncovered claims

                                                       22   and Covered Defendants and Uncovered Defendants, which unfairness is only heightened by the

                                                       23   fact that the Uncovered Defendants are not insureds under the Policy and are not being sued for

                                                       24   covered claims, and Certain Defendants, exclusive of Jerry Johnson, are not covered under the

                                                       25   Policy for acts that they carried out not as members of Pacific Steel but as employees of Alcast

                                                       26   and/or Speyside Fund or Speyside Equity (such as the receipt of fraudulent transfers).

                                                       27             Indeed, unmentioned anywhere in the Motion is the existence of any insurance that might

                                                       28   cover the Uncovered Defendants. For one, this Court is not advised as to whether Continental has


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                                                        1   provided coverage to these other entities and is attempting, by way of this Motion, to foist all of

                                                        2   the defense fees onto the Policy and away from other potentially responsive policies and

                                                        3   responsible parties. It is this lack of transparency that should give this Court pause as to the

                                                        4   propriety of this Motion, as Certain Defendants provide no rationale as to why the various entities

                                                        5   not covered by the Policy should reap the benefit of a free defense to the detriment of the Estate

                                                        6   and should not be required to put forth their own monies in defense of the Adversary Proceeding.

                                                        7                                                   III.      CONCLUSION

                                                        8             The Trustee submits that the granting of relief on the terms outlined herein will confirm the

                                                        9   ability of Continental to pay defense costs (notwithstanding the duty to defend language in the

                                                       10   Policy) for covered claims and covered defendants, permit Certain Defendants to continue

                                                       11   mounting a defense to the claims asserted against them in the Adversary Proceeding, preserve the
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                                                       12   rights of the Estate in the Policy, and permit the Trustee to fulfill her fiduciary duty to monitor and

                                                       13   protect Estate assets (which information the Trustee is otherwise entitled to as the representative of

                                                       14   the Named Insured under the Policy). The Trustee and her counsel, both General Counsel and

                                                       15   Special Counsel, are willing to meet and confer regarding a stipulation resolving the motion in a

                                                       16   manner that protects the rights of all parties.

                                                       17
                                                       18   Dated: July 9, 2020                                       Kornfield, Nyberg, Bendes, Kuhner & Little, P.C.

                                                       19
                                                       20
                                                       21                                                          By:/s/ Eric A. Nyberg
                                                                                                                      Attorneys for Trustee, Sarah L. Little
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                                                        1                                             DECLARATION OF SERVICE

                                                        2             I, the undersigned, declare:
                                                        3             I am employed in the City of Oakland, County of Alameda, California. I am over the age

                                                        4   of 18 years and not a party to this action. My business address is 1970 Broadway, Suite 600,
                                                            Oakland, California 94612.
                                                        5
                                                                      I am readily familiar with the business practices of my employer, Kornfield, Nyberg,
                                                        6
                                                            Bendes, Kuhner & Little, P.C., for the collection and processing of correspondence for mailing
                                                        7
                                                            with the United States Postal Service and that correspondence is deposited with the United States
                                                        8   Postal Service that same day in the ordinary course of business unless indicated below by
                                                        9   electronic service.

                                                       10             On July 9, 2020, I served the following documents:
                                                                      LIMITED OPPOSITION OF CHAPTER 7 TRUSTEE SARAH L. LITTLE TO
                                                       11             MOTION OF KRISHNAN VENKATESAN, JEFFREY STONE, JERRY JOHNSON,
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                                                                      BRIAN HOLT, KEVIN DAUGHERTY, AND STEVE WESSELS FOR RELIEF
                                                       12             FROM THE AUTOMATIC STAY, TO THE EXTENT APPLICABLE, TO
                                                                      AUTHORIZE ADVANCEMENT AND PAYMENT OF DEFENSE COSTS UNDER
                                                       13             INSURANCE POLICY
                                                       14
                                                                      Via-Electronic Service                              Via-ECF
                                                       15             Office of the U.S. Trustee/Oak                      Tracy Green
                                                                      Phillip J. Burton Federal Building                  Wendel, Rosen, Black and Dean
                                                       16             450 Golden Gate Ave.                                1111 Broadway 24th Fl.
                                                                      5th Floor, #05-0153                                 P.O. Box 2047
                                                       17             San Francisco, CA 94102                             Oakland, CA 94607
                                                       18
                                                                      Via-Electronic Service                              Via-Electronic Service
                                                       19             Todd C. Toral                                       Mark D. Poniatowski
                                                                      Jenner & Block LLP                                  Poniatowski Leding Parikh PC
                                                       20             633 West 5th Street Suite 3600                      20980 Redwood Rd. #200
                                                                      Los Angeles, CA 90071-2054                          Castro Valley, CA 94546-5505
                                                       21
                                                       22             Via-Electronic Service                              Via-Electronic Service
                                                                      Michael Lauter                                      Tracy L. Mainguy
                                                       23             Ori Katz                                            Weinberg Roger & Rosenfeld
                                                                      Sheppard Mullin Richter and Hampton                 1001 Marina Village Parkway, #200
                                                       24             4 Embarcadero Center 17th Fl.                       Alameda, CA 94501
                                                                      San Francisco, CA 94111
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                                                       1             Via-Electronic Service                              Via-Electronic Service
                                                                     William H.T. Rice                                   Eric A. Handler
                                                       2             Pension Benefit Guaranty Corporation                DONAHUE FITZGERALD LLP
                                                                     U.S. Government Agency                              1999 Harrison Street, Suite 2600
                                                       3             1200 K St., N.W.                                    Oakland, CA 94612
                                                       4             Washington, DC 20005
                                                                                                                         Via-Electronic Service
                                                       5             Via-Email (rspillers@gslaw.org)                     Louisa A. Soulard
                                                                     Ryan Spillers                                       Pension Benefit Guaranty Corporation
                                                       6             Gilbert & Sackman a Law Corporation                 1200 K Street, N.W.
                                                                     3699 Wilshire Blvd., #1200                          Washington, DC 20005
                                                       7
                                                                     Los Angeles, CA 90010
                                                       8
                                                                     I placed such envelopes for collection and mailing at my employer's office following
                                                       9
                                                           ordinary business practices, addressed to the addressee designated.
                                                      10
                                                                     I declare under penalty of perjury that the foregoing is true and correct. Executed this 9th
                                                      11
                                                           day of July, 2020 at Danville, California.
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                                                      13
                                                                                                                      /s/ Gail A. Michael
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